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                                  United States District Court
                                   Western District of Texas
                                       Austin Division

United States of America,
       Plaintiff,

       v.                                               Case No. 1:22-CR-00187(1)-RP

Steve Ray Shickles, Jr.,
       Defendant,

and

Coinbase, Inc.,
      Garnishee.

                           Motion to Unseal Garnishment Documents

       COMES NOW the United States of America and files this Motion to Unseal Garnishment

Documents. In support hereof, Plaintiff shows as follows:

       The Garnishee Coinbase, Inc. has been served with the writ of garnishment. It is no

longer necessary for these proceedings to be sealed. The United States of America therefore

moves this Court to unseal the following documents:

                •     Government’s Motion to Seal Garnishment Documents;
                •     Order Sealing Documents;
                •     Notice of Appearance;
                •     Application for Writ of Garnishment;
                •     Order for Issuance of Writ of Garnishment;
                •     Writ of Garnishment;
                •     Clerk’s Notice of Post-Judgment Garnishment; and
                •     Any other documents filed pertaining to this garnishment proceeding.

                                                  Respectfully submitted,

                                                  JAIME ESPARZA
                                                  UNITED STATES ATTORNEY

                                              By: /s/ Steven E. Seward
                                                  STEVEN E. SEWARD
                                                  Assistant United States Attorney
                                                  Florida Bar No. 29546
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                                                     E-mail: Steven.Seward@usdoj.gov


                                 CERTIFICATE OF SERVICE

      I hereby certify that on July 25, 2024, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system and I hereby certify that I have mailed by United States Postal
Service the document to the following non-CM/ECF participants:


      Coinbase, Inc.
      Attn: Legal Team
      248 3rd St. #434
      Oakland, California, 94607
      Garnishee

      Steve Ray Shickles, Jr., Register No. 16877-510
      FPC Montgomery-Federal Prison Camp
      Maxwell Air Force Base
      Montgomery, Alabama 36112
      Defendant


                                                       /s/ Steven E. Seward
                                                       STEVEN E. SEWARD
                                                       Assistant United States Attorney
